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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                               EASTERN DISTRICT OF VIRGINIA
                                     ALEXANDRIA VIRGINIA                         ZOli^      lo ^
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UNITED STATES OF AMERICA,                                                        18-CR-83-TSE
                                                                 Criminal No.




 PAUL J. MANAFORT, JR.



                                TRIAL EXHIBIT CUSTODY FORM



Government/Defendant Exhibit(s)                     436                    . ^
                                                                were received on
                                                                                         July 18,2018



                                                        Signatufemperson receiving exhibits



I certify that the exhibits being submitted to the court are those listed on the exhibit list filed.



                                                        Signature of person receiving exhibits
